         Case 1:23-cr-00323-PX Document 127 Filed 09/25/24 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA,        *
                                  *
    V.                            *   CRIMINAL NO. PX-23-323
                                  *
 MICHAEL GEORGE VERZALENO JR,     *
                                  *
         Defendant                *
                                  *
                                  *
                                  *
                                  *
                                  *
                              ********

                                ENTRY OF APPEARANCE

MADAM CLERK:

       Please enter the appearance of Timothy F. Hagan as counsel for the United States of

America for all purposes in the above-captioned case.


                                                Respectfully submitted,
                                               Erek L. Barron
                                               United States Attorney

                                            BY:     /s/
                                                  Timothy F. Hagan
                                                  Assistant United States Attorney
